Case 0:10-cv-61307-MGC Document 6 Entered on FLSD Docket 08/31/2010 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            SOUTHERN DISTRICT OF FLORIDA

                         Case No. 10-61307-Civ-COOKE/BANDSTRA

 THOMAS GRANINO,

        Plaintiff

 vs.

 NCO FINANCIAL SYSTEMS, INC.,

       Defendant.
 _______________________________/

                                    ORDER OF DISMISSAL

        THIS MATTER is before the Court on the parties’ Joint Stipulation of Dismissal with

 Prejudice [ECF No. 5], filed on August 6, 2010. Having reviewed the stipulation and being

 otherwise fully advised in the premises, I hereby

        ORDER AND ADJUDGE as follows:

        1.      The above-styled case is dismissed with prejudice.

        2.      The parties will each bear their own attorneys’ fees and costs.

        3.      The Clerk shall CLOSE this case.

        4.      All pending motions are DENIED AS MOOT.

        DONE AND ORDERED in Chambers at Miami, Florida, this 31st day of August 2010.




 Copies furnished to:
 All counsel of record
 The Honorable Ted E. Bandstra
